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AO 450 (Rev. 11/11) Judgment in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                  for the
                                                   __________  District
                                                     Middle District    of __________
                                                                     of Pennsylvania

                GENTEX CORPORATION                                   )
                             Plaintiffs                              )
                                v.                                   )       Civil Action No. 4:17-CV-01136
               HELICOPTER HELMET, LLC                                )
                            Defendant                                )

                                             JUDGMENT IN A CIVIL ACTION

The court has ordered that (check one):

u the plaintiff (name)                                                                                         recover from the
defendant (name)                                                                                                  the amount of
                                                                            dollars ($               ), which includes prejudgment
interest at the rate of                   %, plus post judgment interest at the rate of             % per annum, along with costs.

u the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
                                 recover costs from the plaintiff (name)
                                          .

✔ other:
u              Final Judgment is entered in favor of Plaintiff and against Defendant, in accordance with this Court’s
               Memorandum Opinion and Order dated April 13, 2021, Docs. 52 and 53
                                                                                                                                     .

This action was (check one):

u tried by a jury with Judge                                                                          presiding, and the jury has
rendered a verdict.

u tried by Judge                                                                          without a jury and the above decision
was reached.

✔
u decided by Judge          Matthew W. Brann                                                   on a motion for
      Summary Judgment [Doc. 41]
                                                                                                                                     .

Date:      April 13, 2021                                                   CLERK OF COURT


                                                                             s/ Janel R. Rhinehart, deputy
                                                                                          Signature of Clerk or Deputy Clerk
